Case 6:23-cv-00871-CEM-DCI Document 113 Filed 10/10/23 Page 1 of 2 PageID 1481
                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 CHRISTOPHER E. DORWORTH,
        Plaintiff,
 v.
 JOEL MICAH GREENBERG, ANDREW                   Case No.: 6:23-CV-00871
 W. GREENBERG, SUE GREENBERG,
 ABBY GREENBERG, AWG, INC.,
 GREENBERG DENTAL ASSOCIATES,
 LLC, GREENBERG DENTAL &
 ORTHODONTICS, P.A., GREENBERG
 DENTAL SPECIALTY GROUP, LLC,
 and A.B.,
        Defendants.



        NOTICE OF A.B.’S OPPOSITION TO OMNIBUS RESPONSE

       Counsel for A.B. has just messaged undersigned counsel, and confirmed that

 that, as indicated in Doc. 109, she opposes Plaintiff’s Motion for Leave to File

 Omnibus Memorandum in Response to Motion to Dismiss. (A.B. indicated in

 another filing that “Undersigned counsel takes no position on the requested

 additional time to file responses to the motions to dismiss.” Doc. 110.)

 October 10, 2023.                            Respectfully Submitted,

                                              /s/Michael Paul Beltran
                                              Michael P Beltran
                                              Fla. Bar No. 0093184
                                              Beltran Litigation, P.A.
                                              4920 West Cypress St.
                                              Suite 104 PMB 5089
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Case 6:23-cv-00871-CEM-DCI Document 113 Filed 10/10/23 Page 2 of 2 PageID 1482
                                               mike@beltranlitigation.com
                                               Counsel for Plaintiff Dorworth

                          CERTIFICATE OF SERVICE

        I will file a copy of the foregoing on the Court’s electronic system, which
 will send a copy to all counsel of record.
                                                 /s/Michael Paul Beltran
                                                 Michael P Beltran
